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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                 FORT WORTH DIVISION

                                                   §
DAVID SAMBRANO, individually, and                  §
on behalf of all others similarly situated,        §
                                                   §            Civil Action No.
        Plaintiffs,                                §
                                                   §           4:21-CV-01074-P
v.                                                 §
                                                   §
UNITED AIRLINES, INC.,                             §
                                                   §
        Defendant.                                 §

                                   JOINT MEDIATION REPORT

        Plaintiffs and Defendant submit this Joint Mediation Report pursuant to the Court’s

October 20, 2021, Order, which directs the parties to “detail[] the settlement negotiations,

including a statement on the parties’ progress towards settlement and on lingering issues before

the Court in this case, if any.” ECF No. 81 (“Order”).

        1.       Since the Order was issued, the parties have been working with the mediators

appointed by the Court, including the Honorable Kent Hance, Chancellor-Emeritus, as Lead

Mediator and Honorable Royal Furgeson (Ret.), Dean-Emeritus, as Local Mediator. Counsel for

both sides spoke separately with the mediators on several occasions beginning on Friday,

October 21, 2021.

        2.       On Monday, October 25, 2021, the mediators met with counsel for both sides at

the Omni Hotel in Fort Worth from 7 p.m. until approximately 9 p.m.             Plaintiffs were

represented by Gene Schaerr and John Sullivan. United was represented by Don Munro and

Russell Cawyer.

        2.       The parties conducted a day-long, in-person mediation on Tuesday, October 26,

2021, from 9:00 a.m. to approximately 6:00 p.m., at the Omni Hotel in Fort Worth, Texas. The

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plaintiffs in attendance were David Sambrano, David Castillo, Kimberly Hamilton, Genise

Kincannon, and Seth Turnbough. Debra Jennifer Thal Jonas is ill and so was unable to attend in

person. Plaintiffs’ counsel Gene Schaerr and John Sullivan were also present. United was

represented by Vania Wit, deputy general counsel, Sheila Frederick, associate general counsel,

Mary O’Neil, senior managing counsel, and Kirk Limacher, Vice President, Human Resources.

United’s counsel Don Munro and Russell Cawyer were also present.

        3.       Each side had multiple meetings with the mediators throughout the day, and

thoroughly discussed the various issues.           The parties also exchanged settlement proposals

through the mediators.

        4.       Since then, the parties have continued to discuss this matter with the mediators in

phone conferences.

        5.       Despite these efforts, the parties have not, as of the deadline for this Report, been

able to reach agreement on any of the issues pending before the Court. The parties, however, are

still discussing a possible settlement with respect to a subset of the putative class, and will report

the results of that discussion to the Court on or before Tuesday, November 2

        6.       Neither party has any objection if the Court wishes to conduct private

conversations with the mediators regarding their impressions of the case, the prospects for

settlement, or any related issues.




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Respectfully submitted,

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AND THE PROPOSED CLASS




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                                    CERTIFICATE OF SERVICE

        On October 29, 2021, I electronically submitted the foregoing document with the clerk of
court for the U.S. District Court, Northern District of Texas, using the electronic case filing
system of the court. I hereby certify that I have served all counsel and/or pro se parties of record
electronically or by another manner authorized by Federal Rule of Civil Procedure 5(b)(2).


                                                          /s/ Russell D. Cawyer
                                                   Russell D. Cawyer




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